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              IN THE UNITED STATES DISTRICT COURT
                  THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA            )
V.                                  )      CASE NO. CR414-005

CARL EVAN SWAIN,

     Defendant.


                             ORDER

     Before the Court is the Government's Motion in Limine.

(Doc. 278.) In this motion, the Government seeks a pretrial

ruling that certain evidence is admissible at trial.

Specifically, the Government contends that text messages

between Defendant Swain and co-Defendant Lillie Mae Eubank,

and false statements made by co-Defendant Eubank to members

of the victim's army unit are admissible as coconspirator

admissions. (Id. at 1.) In addition, the Government argues

that a recording of a 911 call containing statements made

by individuals who first discovered the victim is

admissible as a present sense impression and excited

utterance. (Id. at 2.) Finally, the Government maintains

that photographs of the victim taken at the hospital and

during an autopsy are admissible. (Id. at 3.) For the

following reasons, the Government's motion is            GRANTED IN

PART and DENIED IN PART.
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     As an initial matter, the Court notes that Defendant

Swain does not object to the introduction of co-Defendant

Eubank's text messages, the 911 call, and the photographs.

(Doc. 283 at 1-2.) Therefore, these portions of the

Government's motion are      GRANTED.'   Accordingly, the Court

need only address co-Defendant Eubanks statements made to

members of the victim's army unit after the alleged murder.

     Federal Rule of Evidence 801(d) (2) (E) excludes as

hearsay an opposing party's statement that "was made by the

party's coconspirator during and in furtherance of the

conspiracy." To establish the applicability of this

exception, the party offering the statement must "prove by

a preponderance of the evidence that (1) a conspiracy

existed, (2) the conspiracy included the declarant and the

defendant against whom the statement is offered, and (3)

the statement was made during the course of and in

furtherance of the conspiracy." United States v. Underwood,

446 F.3d 1340, 1345-46 (11th Cir. 2006) . The United States

Supreme Court has noted that this exception is only

applicable "to declarations made while the conspiracy

charged was still in progress." Anderson v. United States,

   The Court notes that the parties appear to have an
agreement concerning the introduction of hospital and
autopsy photographs. (Doc. 287.) Introduction of the
photographs at trial is subject to the terms of any such
agreement.

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417 U.S. 211, 218 (1974). Moreover, the requirement that

coconspirator statements be limited to those made while the

conspiracy was in progress has been "scrupulously

observed." Id. To that end, "[s]tatements made after the

cessation of the primary purpose of the conspiracy that

served only to conceal the conspiracy are not protected by

the Rule." United States v. Griggs, 735 F.2d 1318, 1324-25

(11th Cir. 1984)

        The second superseding indictment in this case alleges

a conspiracy to commit murder for hire. 2 According to the

Government's motion, co-Defendant Eubank's statements to

members of the victim's army unit were made after Defendant

Swain allegedly attacked the victim by hitting him over the

head with a baseball bat. (Doc. 278 at 5-7.) Additionally,

co-Defendant Eubank allegedly agreed prior to the murder

that she and Defendant Swain would share in the proceeds

from the victim's life insurance policy. (Doc. 101 ¶ 14.)

Therefore, the alleged conspiracy to commit murder for hire

was complete at the time of co-Defendant Eubank's

statements: a facility of interstate commerce had been


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  The second superseding indictment alleges both conspiracy
to commit murder for hire and conspiracy to commit murder.
However, the Court will only address whether the conspiracy
to commit murder for hire was complete because that charge
includes all the necessary elements of a conspiracy to
commit murder.

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used, a murder had been committed, and an agreement to pay

money as consideration for committing the murder had been

made. Quite simply, there was nothing left for the

coconspirators to accomplish with respect to the

conspiracy. Co-Defendant Eubank's statements "served only

to conceal the conspiracy," rendering them outside the

ambit of Rule 801(d) (2) (E) . Griggs, 735 F.2d at 1324-25.

Therefore, the Court finds the Government's arguments

without merit. 3

     The Government also argues that these statements are

admissible because they are not being used to prove the

truth of the matter asserted, but only that co-Defendant

Eubank was "determined to conceal her own role and the role

of Swain in the conspiracy to murder her husband, and that

  The Court is perplexed by the Government's reliance on
United States v. Blakely, 960 F.2d 966 (11th Cir. 1992),
and Griggs, 735 F.2d 1318. Both cases appear to contradict
the Government's proposition that "[s]tatements which serve
a necessary part of a conspiracy by concealing it or
impeding an investigation are admissible as statements made
during and in furtherance of the conspiracy." (Doc. 278
¶ 19.) In Griggs, it is clear that the coconspirator
statements, which attempted to conceal the conspiracy, were
made while the conspiracy was ongoing. 735 F.2d at 1325
(noting that district court concluded conspiracy ongoing at
time statement made). Although less clear in Blakely, it
appears that the defendant's check fraud scheme was also
ongoing at the time of the coconspirator statements. 960
F.2d at 998 (noting that statement made during course of
bank's investigation into whether checks were properly
payable). Based on its review of these cases, this Court is
unpersuaded that they effectively support the Government's
position.

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she   lied repeatedly to do so." This argument, however,

lacks merit. It is readily apparent that these statements

are being offered to prove that Defendant Swain conspired

with co-Defendant Eubank to, and actually did, commit

murder. These statements would have little evidentiary

value otherwise because no defendant in this case is

charged with any crime that includes the making of false

statements as an element of the offense. As noted above,

coconspirators' statements made to conceal the conspiracy,

which is exactly what the Government claims to be the truth

of the matter asserted, are excluded as improper hearsay.

The Government's argument is an attempted end-run around

that rule using their own conclusory allegations that the

statements were false. Accordingly, this portion of the

Government's motion lacks merit.

      SO ORDERED this I      day of March 2015.




                                 WILLIAM T. MOORE, 1R.
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




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